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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 EL PUENTE, et al.,

                Plaintiffs,                           Case No.: 1:22-cv-02430-CJN

        v.

 U.S. ARMY CORPS OF ENGINEERS, et al.,

                Defendants.




                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

       Plaintiffs El Puente, CORALations, and Center for Biological Diversity respectfully

move this Court for summary judgment pursuant to Federal Rule of Civil Procedure 56 and

Local Civil Rule 7(h). Plaintiffs move for summary judgment because there is no genuine

dispute as to any material fact and Plaintiffs are entitled to judgment as a matter of law.

       Plaintiffs seek an order declaring that Defendants U.S. Army Corps of Engineers and

Lieutenant General Scott A. Spellmon (collectively, Corps) violated the Clean Water Act,

National Environmental Policy Act, and Administrative Procedure Act (“APA”) in issuing its

2018 Environmental Assessment and Finding of No Significant Impact for a Dredging Project in

San Juan Bay, Puerto Rico. Plaintiffs also seek an order declaring the National Marine Fisheries

Service’s and Fish and Wildlife Service’s related not-likely-to-adversely-affect determinations

for corals and manatees, respectively, are unlawful under the Endangered Species Act. Because

the Finding of No Significant Impact and not-likely-to-adversely-affect determinations are

unlawful, Plaintiffs seek an order vacating these decisions. In support of this motion, Plaintiffs


Pls’ Mot. for Summ. J.                                                                               1
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are concurrently filing a memorandum of points and authorities, proposed order, and the

declarations of Kara Clauser, Isabel Rivera-Collazo, Sonia Villaverde, Frank Gonzalez García,

Federico Cintrón Moscoso, Mary Ann Lucking, and Peter Galvin.



Dated: January 27, 2023.                           Respectfully submitted,

                                                    s/ Catherine Kilduff

                                                   Catherine Kilduff, DC Bar No. 1026160

                                                   s/ Miyoko Sakashita
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Pls’ Mot. for Summ. J.                                                                          2
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